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     Assistant Federal Defender
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5
     Attorney for Defendant
6    SHELLBY L. MOORE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                   ) Case No. 2:16-cr-00147-MCE
                                                  )
11                     Plaintiff,                 ) STIPULATION AND ORDER TO
                                                  ) CONTINUE STATUS CONFERENCE
12             vs.                                )
                                                  ) Date: January 12, 2017
13    SHELLBY L. MOORE,                           ) Time: 10:00 a.m.
                                                  ) Judge: Hon. Morrison C. England, Jr.
14                     Defendant.                 )
                                                  )
15                                                )
16
               IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
17
     Attorney, through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff,
18
     and Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren,
19
     attorney for Shellby L. Moore that the status conference, currently scheduled for January 12,
20
     2017, be continued to January 26, 2017 at 10:00 a.m.
21
               Defense counsel recently received discovery in the case and requires additional time to
22   review discovery with the defendant and pursue investigation.
23             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including January 26, 2017; pursuant to 18 U.S.C.
25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26   based upon continuity of counsel and defense preparation.
27   ///
28   ///
     Stipulation to Continue Status Conference        -1-                           U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 55 Filed 01/11/17 Page 2 of 3



1            Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3                                                  Respectfully submitted,

4    Dated: January 9, 2017                        HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ Noa E. Oren
6                                                  NOA E. OREN
                                                   Assistant Federal Defender
7                                                  Attorney for Defendant
8    Dated: January 9, 2017
                                                   PHILLIP A. TALBERT
9                                                  United States Attorney
10                                                 /s/ Michelle Rodriguez
                                                   MICHELLE RODRIGUEZ
11                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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     Stipulation to Continue Status Conference       -2-                            U.S. v Moore, 16-cr-147
       Case 2:16-cr-00147-DAD Document 55 Filed 01/11/17 Page 3 of 3



1                                                   ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds
4    the failure to grant a continuance in this case would deny counsel reasonable time necessary for
5    effective preparation, taking into account the exercise of due diligence. The Court finds the ends
6    of justice are served by granting the requested continuance and outweigh the best interests of the
7    public and defendant in a speedy trial.
8            Time from the date the parties stipulated, up to and including January 26, 2017, shall be
9    excluded from computation of time within which the trial of this case must be commenced under
10   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for
11   counsel to prepare] and General Order 479, (Local Code T4). It is further ordered the January
12   12, 2017 status conference shall be continued until January 26, 2017, at 10:00 a.m.
13           IT IS SO ORDERED.
14   Dated: January 10, 2017
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     Stipulation to Continue Status Conference         -3-                              U.S. v Moore, 16-cr-147
